      Case: 1:15-cr-00515 Document #: 735 Filed: 08/24/21 Page 1 of 4 PageID #:8465           sn4

Albert Rossini                                                       FILEtr
#08043-424
Metropolitan eorrectitinal Center                                       AUc   2   tnU   d
7t l,fl. Van Buren St.                                                Tl{O[tASO BRU]un
Chicago, IL 60605                                                 GI.ERK U.S. USTN'CT OOUBT



August L9, 202L


Hon. John Z. Lee
United States District Court
2L9 S. Dearborn St.
Chicago, IL 60604

Re:    USA   v. Rossini,        15 CR-515-1

Dear Judge Lee:
    .Based 9p9n the August L6, 202L status hearing and a subsequent
meeting wit,h Attorney clarence Butler, J!. on AugIst tl , 2o2Lr'
I have decided the following: Defendantrs Sentencing Memorandum
uld Objections to the Presentence Report which I filed pro se on or
about August 9, 202L, will remain as a document to be cbnsidered bvr
the court at sentencing but will be supplemented by myserf and
Mr. Butler through a filing by Mr. Butler. This c6nf6rms to one of
the options you presented to me at the status hearing and r
appreciate you doing so.


Respectfully submitted,


Albert Rossini
    Case: 1:15-cr-00515 Document #: 735 Filed: 08/24/21 Page 2 of 4 PageID #:8466



                     UNITED STATES DISTRICT COURT
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                FOR THE NORTHERN DISTRICT OF ILLINOIS                       AW Z4 Z[zt pp
                           EASTERN DIVISION
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UNITED STATES OF AMERICA,



                                                 Case No. 15 CR-515-1
                                                 HON. JOHN Z. LEE
                                                 District Judge

ALBERT ROSSINI,
                  Defendant.

                             NOTICE OF FILING


     NOW COMES    Defendant Albert Rossini and files this Letter to
Hon. John Z. Lee, U.S. District Court Judge in response to status
hearing of August 16, 202t.



Respectfully submitted,



Albert Rossini
#08043-42t+
Metropolitan Correctional Center
7L I^I. Van Buren St.
Chicago, IL 60605
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